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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION (DAYTON)

 Donald F. Harker, III, as Chapter 7 Trustee    :   CASE NO. 3:19-cv-139
 in Bankruptcy Case No. 3:16-bk-32161 (In       :
 re Ralph Louis and Lisa A. Citro)              :   DISTRICT JUDGE THOMAS M. ROSE
                                                :
                       Plaintiff,               :
                                                :
 vs.                                            :
                                                :
 Internal Revenue Service, et al.               :
                                                :
                       Defendant(s).            :


AGREED ORDER DISMISSING ADVERSARY COMPLAINT FILED IN THE UNITED
   STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF OHIO, WESTERN
    DIVISION, ADV. PROCEEDING 18-3008 FILED ON FEBRUARY 08, 2018 AND
    TRANSFERRED TO THE UNITED STATES DISTRICT COURT, SOUTHERN
           DISTRICT OF OHIO, WESTERN DIVISION ON MAY 9, 2019
______________________________________________________________________________

       THIS MATTER is before the Court upon the Plaintiff/Trustee’s Complaint of Trustee to

Avoid and Recover Fraudulent Transfers Pursuant to 11 U.S.C. §§548 and 550, the Debtors’

Election to Forego Net Operating Loss Carrybacks in Accordance with 26 U.S.C. §172(b) and

Ohio Law; and for Costs, Reasonable Attorney Fees and Other Relief filed in the United States

Bankruptcy Court, Southern District Ohio, Western Division (Dayton) in Adversary Proceeding

18-3008 and transferred to the United States District Court, Sothern District of Ohio, Western

Division (Dayton) on May 9, 2019. In light of the economic realities and a review of the case, the

Plaintiff/Trustee voluntarily agrees to dismiss this action in its entirety. As such, it is hereby

ORDERED, ADJUDGED, AND DECREED that this Adversary Proceeding is dismissed.

       IT IS SO ORDERED.
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May 13, 2020                                 *s/Thomas M. Rose
                                             ____________________________________
                                             THOMAS M. ROSE, JUDGE
                                             UNITED STATES DISTRICT COURT




AGREED BY:
COOLIDGE WALL CO., L.P.A.                       DAVE YOST (0056290)
                                                ATTORNEY GENERAL OF OHIO
/s/ Patricia J. Friesinger                      /s/ James S. Harding by. P. Friesinger per
                                                e-mail authority
                        _________                             __________________
Patricia J. Friesinger (0072807)                James S. Harding (0079483)
33 W. First Street, Suite 200                   Senior Assistant Attorney General
Dayton, OH 45402                                1600 Carew Tower
Phone: 937-223-8177                             441 Vine Street
Fax: 937-223-6705                               Cincinnati, Ohio 45202
E-mail: friesinger@coollaw.com                  Phone: 513-852-1536
                                                Fax: 513-371-1608
Trial Attorney for Plaintiff                    Email:james.harding@ohioattorneygeneral.gov
Donald F. Harker, III, as Chapter 7 Trustee
in Bankruptcy Case No. 3:16-bk-32161 (In        Trial Attorneys for Defendant
re Ralph Louis and Lisa A. Citro                Ohio Department of Taxation


RICHARD E. ZUCKERMAN
Principal Deputy Assistant Attorney General

/s/ Mary A. Stallings by P. Friesinger per
e-mail authority
                       _____________
Mary A. Stallings
Trial Attorney, Tax Division
U.S. Department of Justice
P.O. Box 55
Washington, DC 20044
Phone: 202-616-2604
Fax: 202-514-5238
Email: mary.a.stallings@usdoj.gov

Trial Attorneys for Defendant
United States of America, Internal Revenue
Service



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